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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Western Division

Sonja Benjamin, et al.
                                        Plaintiff,
v.                                                        Case No.: 3:21−cv−50473
                                                          Honorable Iain D. Johnston
The Hartz Mountain Corporation
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 18, 2022:


        MINUTE entry before the Honorable Iain D. Johnston: In light of the stipulation to
dismiss [17], this case is dismissed with prejudice, with each side to bear its own costs and
fees. All pending deadlines are stricken. Civil case terminated. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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